USCA4 Appeal: 07-4115   Doc: 8   Filed: 01/31/2007   Pg: 1 of 5




                                    Document 1
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                             UNITED STATES COURT OF APPEALS

                                 FOR THE FOURTH CIRCUIT
                                                                          FILED
                                                                    January 31, 2007




                                         No. 06-4391
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  DONNA CONZUELLA JOHNSON

                  Defendant - Appellant



                                         No. 06-4392
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  JOHN ALBERT MARTIN, JR.

                  Defendant - Appellant



                                         No. 06-4527
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  CRAIG ARNOLD SCOTT, a/k/a Craig Levi

                  Defendant - Appellant
USCA4 Appeal: 07-4115   Doc: 8    Filed: 01/31/2007   Pg: 3 of 5




                                         No. 07-4059
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                  Defendant - Appellant



                                         No. 07-4060
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  PAULETTE MARTIN, a/k/a Paulette Murphy, a/k/a Paulette
  Akuffo, a/k/a Paula Murphy, a/k/a Auntie

                  Defendant - Appellant



                                         No. 07-4062
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LANORA N. ALI, a/k/a La Nora Ali-Gardner

                  Defendant - Appellant
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                                         No. 07-4063
                                             8:04-cr-00235-RWT



  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  REECE COLEMAN WHITING, JR., a/k/a Guy Counts, a/k/a Cups,
  a/k/a Dino Whiting

                  Defendant - Appellant



                                         No. 07-4080
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  DERREK LEWIS BYNUM, a/k/a Bo

                  Defendant - Appellant



                                         No. 07-4115
                                             8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
  Dobie Parker

                  Defendant - Appellant
USCA4 Appeal: 07-4115   Doc: 8    Filed: 01/31/2007   Pg: 5 of 5




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                                       O R D E R
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                The Court deconsolidates these cases for further appellate

          purposes.


                                          For the Court - By Direction



                                          /s/ Patricia S. Connor
                                          _________________________
                                                       CLERK
